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                  EXHIBIT 2
9/30/24, 9:45 AM      CASE 0:24-cv-01743-JMB-DTS              Doc.
                                   Exclusive | The One-Hour Nurse Visits49-3       Filed Collect
                                                                         That Let Insurers 11/22/24
                                                                                                 $15 Billion Page   2 of 12
                                                                                                             From Medicare - WSJ

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   https://www.wsj.com/health/healthcare/medicare-extra-payments-home-visits-diagnosis-057dca8b




                                                                     EXCLUSIVE        HEALTHCARE


                     The One-Hour Nurse Visits That Let Insurers
                          Collect $15 Billion From Medicare
                Information gathered from Medicare Advantage patients in their homes triggered
                                      extra payments; ‘It made me cringe’



   By Anna Wilde Mathews                         Follow      , Christopher Weaver                    Follow      , Tom McGinty               Follow       and
   Mark Maremont Follow
   Aug. 4, 2024 9:00 pm ET



   Millions of times each year, insurers send nurses into the homes of Medicare recipients to
   look them over, run tests and ask dozens of questions.

   The nurses aren’t there to treat anyone. They are gathering new diagnoses that entitle private
   Medicare Advantage insurers to collect extra money from the federal government.

   A Wall Street Journal investigation of insurer home visits found the companies pushed nurses
   to run screening tests and add unusual diagnoses, turning the roughly hourlong stops in
   patients’ homes into an extra $1,818 per visit, on average, from 2019 to 2021. Those payments
   added up to about $15 billion during that period, according to a Journal analysis of Medicare
   data.




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   Average payments for home-visit                                                 Home visits
   diagnoses, per visit, 2019–21                                                                 1 million
                                                                                                 500K

                                                                                                 100K
                                 Each dot is an
                                    insurer


                                                                Humana
                                                                 $1,525                                      UnitedHealth
        CVS/Aetna                                                                                               $2,735
          $232




        PAYMENT PER VISIT
   $0               400              800             1,200            1,600            2,000        2,400          2,800

   Note: Limited to insurers with 5,000 or more home visits.
   Andrew Mollica/WSJ


   Nurse practitioner Shelley Manke, who used to work for the HouseCalls unit of UnitedHealth
   Group, was part of that small army making home visits. She made a half-dozen or so visits a
   day, she said in a recent interview.

   Part of her routine, she said, was to warm up the big toes of her patients and use a portable
   testing device to measure how well blood was flowing to their extremities. The insurers were
   checking for cases of peripheral artery disease, a narrowing of blood vessels. Each new case
   entitled them to collect an extra $2,500 or so a year at that time.

   But Manke didn’t trust the device. She had tried it on herself and had gotten an array of
   results. When she and other nurses raised concerns with managers, she said, they were told
   the company believed that data supported the tests and that they needed to keep using the
   device.




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   Shelley Manke, a nurse practitioner who once worked for UnitedHealth, visited many Medicare
   Advantage recipients in their homes. PHOTO: TAYLOR GLASCOCK FOR WSJ

   “It made me cringe,” said Manke, who stopped working for HouseCalls in 2022. “I didn’t think
   the diagnosis should come from us, period, because I didn’t feel we had an adequate test.”

   Other nurses interviewed by the Journal said many of the diagnoses that home-visit
   companies encouraged them to make wouldn’t otherwise have occurred to them, and in many
   cases were unwarranted.

   Last month, the Journal reported that insurers received nearly $50 billion in payments from
   2019 to 2021 due to diagnoses they added themselves for conditions that no doctor or hospital
   treated. Many of the insurer-driven diagnoses were outright wrong or highly questionable,
   the Journal found.

   The diagnoses added after home visits accounted for about 30% of that total. More than
   700,000 peripheral artery disease cases diagnosed only during home visits added $1.8 billion
   in payments during that period.

   In the Medicare Advantage system—conceived as a lower-cost alternative to traditional
   Medicare—private insurers get paid a lump sum to provide health benefits to about half of the
   67 million seniors and disabled people in the federal program. The payments go up when
   people have certain diseases, giving insurers an incentive to diagnose those conditions.

   To find out how insurers use home visits to add diagnoses, the Journal interviewed nurses,
   patients, home-visit managers and industry executives and reviewed hundreds of pages of
   internal documents from home-visit companies. They described a system that used nurses,
   software and audits to generate diagnoses.

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                                                                  “They do the job with a purpose, and it pays off for
   INVESTIGATING MEDICARE                                         the Medicare Advantage plans,” said Francois de
                                                                  Brantes, a former executive at Signify Health, a
                                                                  company that does home visits for insurers.
                                                                  “Identifying the diagnoses, that’s the job.”

                                                                  Insurers, including UnitedHealth and CVS Health,
                                                                  owner of both Signify and Aetna, said the house calls
                                                                  help patients by, among other things, catching
                                                                  diseases early and making sure people are taking
                                                                  their medicine properly. The insurers said they relay
   Insurers Pocketed $50 Billion
                                                                  home-visit findings to primary-care doctors.
   From Medicare for Diseases No
   Doctor Treated                                                 Nurses who made visits said they felt they were
                                                                  helping some patients with advice about
                                                                  medications, performing needed tests and
   sometimes reporting health emergencies.

   For UnitedHealth, the parent company of the largest Medicare insurer, each home visit was
   worth about $2,735 in extra Medicare payments during the three years covered by the data,
   the Journal analysis found. That’s nearly three times the average for all other Medicare
   Advantage insurers.

   UnitedHealth’s chief physician, Dr. Wyatt Decker, attributed the disparity to what he said was
   UnitedHealth’s sicker patient population and its nurse practitioners being so effective at their
   jobs.

   Sixty percent of UnitedHealth home visits generated at least one new revenue-producing
   diagnosis of a condition no doctor was treating, the analysis showed. Home visits by Humana,
   the No. 2 Medicare insurer, did so 39% of the time.

   The Journal reviewed Medicare data covering the home visits under a research agreement
   with the federal government. The data doesn’t include patients’ names, but covers details of
   doctor visits, hospital stays, prescriptions and other care.

   The home-visit industry has grown in recent years. UnitedHealth’s HouseCalls sent nurse
   practitioners to the homes of more than 2.7 million people last year. CVS’s Signify performed
   about 2.6 million home visits in 2023.

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   Total payment from home-visit diagnoses, in
   billions
                         5.6
               5.5
                         3.8
               3.9


    $4.1
    2.9                                    UnitedHealth
                                           $10.7 billion




                                    1.8
                    1.6                    All other
     1.2                                   insurers
                                           $4.6 billion

    2019            2020           2021

   Note: Numbers are subject to rounding.




   PHOTO: GABBY JONES/BLOOMBERG NEWS




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   Signify Health and a subsidiary of UnitedHealth made more than five million home visits combined in
   2023. PHOTO: SHELBY TAUBER/BLOOMBERG NEWS

   Step one is getting Medicare Advantage recipients to agree to a visit, especially patients
   whom insurers deem most likely to have undiagnosed conditions that would garner extra
   payments.

   Two former managers who oversaw home visits for Humana, and a third who worked for both
   Humana and Signify, said insurers used an internal scoring system to identify prospects.
   Under the Medicare Advantage system, diagnoses have to be documented every year to
   trigger the extra payments, so people who had an earlier home visit that produced extra
   payments were particularly valued, the managers said.

   Insurers also considered other factors, including how likely patients were to agree to a visit,
   some home-visit executives said.

   Call centers bombard Medicare recipients with offers of home visits—in the case of Humana,
   autodialing them as many as 10 times, according to the former managers. Agents sometimes
   offered the Medicare recipients incentives such as Walmart gift cards.

   A Humana spokesman said the company is committed to accurately identifying patients’
   health conditions, and that its home-visit vendors don’t use software to suggest diagnoses for
   its patients.

   Dave Sherwood, a 68-year-old retired accounting executive in Williamsburg, Va., joined a
   UnitedHealth Medicare Advantage plan last year. Earlier this year, he got a flurry of calls from
   representatives of the insurer. When he finally answered one, he told them he didn’t want a
   home visit.

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   Months later, he started getting the calls again. Finally, he said, he picked one up and told the
   agent to stop calling.

   When patients agree to a visit, home-visit companies send nurse practitioners or, less
   frequently, doctors or physician assistants. Some are full-time employees, others contractors
   who get paid around $100 or more per visit.

   At each home, the nurses run through a series of questions covering medical history and
   medications, as well as doing a physical assessment and some basic testing.

   In the HouseCalls system, nurses feed the information into a laptop or tablet, and the
   software suggests diagnoses. They automatically appear in a “diagnosis cart” on the side of
   the screen, according to training documents from last year that were viewed by the Journal.

   Kristen Bell, a nurse practitioner who left HouseCalls in May after doing home visits for seven
   years, said the prompts were one way to prod nurses to add diagnoses. They also got regular
   training about conditions they could record, she said. She characterized the message from
   management as: “I’m not going to beat you up about this, but I want you to go in this
   direction.”

   Secondary hyperaldosteronism, a condition in which levels of the hormone aldosterone rise,
   is rarely diagnosed in traditional Medicare patients. HouseCalls documents show that its
   software would suggest the diagnosis if a patient had a history of heart failure or cirrhosis,
   and either took certain drugs, such as diuretics, or had swelling due to fluid retention. Nurses
   weren’t required to confirm the diagnosis with a lab test.

   “In a million years, I wouldn’t have come up with a diagnosis of secondary
   hyperaldosteronism,” said Bell, the former HouseCalls nurse.

   UnitedHealth diagnosed it 246,000 times after home visits, leading to $450 million in
   payments over the three years of the Journal’s analysis. All other Medicare insurers combined
   collected $42 million from making that diagnosis after home visits.

   “It is a vastly underdiagnosed condition that is super valuable to call out,” said UnitedHealth’s
   Decker.

   To find more cases of peripheral artery disease, both HouseCalls and Signify used the testing
   device that nurse Manke said she distrusted, company manuals show.


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   Secondary hyperaldosteronism
                                                                  The Food & Drug Administration said the device,
   Payments from home-visit diagnoses,                            called the QuantaFlo, “is not indicated for use as a
   2019-21                                                        stand-alone diagnostic device but as an adjunct to
                                                                  the diagnostic process.” Medical guidelines
                                           Other insurers         recommend against widespread screening for the
                                           $42 million
          UnitedHealth
                                                                  condition.
          $451 million
                                                                  A HouseCalls training manual advised nurses to
                                                                  diagnose peripheral artery disease based on results
                                                                  from the device. Managers at Signify told nurses
                            CVS/Aetna          Humana
                             $6 million        $21 million
                                                                  they were required to use the device to test the
                                                                  patients of most insurers, a 2020 email shows.

   Nurses diagnosed the condition after 568,000 home visits to UnitedHealth patients in the
   period analyzed by the Journal, adding up to nearly $1.4 billion in additional payments.

   Peripheral artery disease
   Payments from home-visit diagnoses, 2019-21

                                                                                                     Other insurers:
                                                                                                     $446 million




                               UnitedHealth
                                $1.4 billion
                                                                                                  Humana
                                                                                                 $279 million

                                                                                CVS/Aetna
                                                                                $37 million




   UnitedHealth’s Decker said the company expected clinicians to use their judgment in making
   peripheral artery disease diagnoses. A spokesman for Signify-owner CVS said medical
   providers decide when the test is appropriate on a case-by-case basis, and that the 2020 email
   was “not clearly worded” and didn’t reflect company policy.

   Renae Cormier, chief financial officer of QuantaFlo maker Semler Scientific, said the device
   assesses risk for the disease.


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   Dr. Amy Chappell, a 73-year-old neurologist in Naples, Fla., was surprised when a nurse sent
   to her house earlier this year by UnitedHealth pulled out a QuantaFlo device. “She had no
   reason to think I had peripheral artery disease,” said Chappell, who says she has had no
   symptoms of the condition and is an avid runner and tennis player.

   Chappell tested positive, although the nurse didn’t do any other standard exam to check for
   symptoms of the disease, Chappell said. Her primary-care doctor, Dr. Rebekah Bernard, said in
   an email that the diagnosis was inaccurate.

   “From what I do know of the case, it’s an example of where we could have done better, and we
   need to own that,” said UnitedHealth’s Decker. The company later confirmed the diagnosis
   was a mistake and said it corrects such errors.




   Manke said UnitedHealth’s peripheral artery disease testing practices made her uncomfortable.
   PHOTO: TAYLOR GLASCOCK FOR WSJ


   The Medicare Payment Advisory Commission, a nonpartisan agency that advises Congress,
   has recommended that diagnoses from home visits shouldn’t count toward extra payments to
   Medicare insurers. The inspector general that oversees the Medicare agency has said it should
   reconsider the use of such diagnoses.

   A spokeswoman for the Centers for Medicare and Medicaid Services, said the agency recently
   ramped up audits to verify diagnoses. The agency also is eliminating some diagnoses from
   those that qualify for extra payments, including peripheral artery disease.

   Nathanael Lacaria, a nurse practitioner who did home visits in Colorado for CVS’s Signify unit
   in 2019 and 2020, said he didn’t feel it was appropriate to make definitive diagnoses based on
   one visit.

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   He said he didn’t realize insurers were submitting some of his tentative diagnoses to
   Medicare for billing purposes until a woman he had visited called the company to complain.
   “What’s this depression diagnosis in my chart?” she asked, according to Lacaria.

   When he visited the woman, whose husband had died, Lacaria said, he recorded her answers
   to a standard depression screening tool, but he hadn’t actually diagnosed depression. “These
   visits were definitely used to jump to conclusions I wouldn’t have arrived at,” he said.

   The CVS spokesman said Signify’s clinicians independently determine which conditions a
   patient has.

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   Appeared in the August 6, 2024, print edition as 'Nurse Visits Made Insurers $15 Billion'.




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